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 1   MCCAULLEY LAW GROUP LLC
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 8   Attorneys for Plaintiff and Counter-Defendant,
 9   SURGICAL INSTRUMENT SERVICE COMPANY, INC.
10
                        UNITED STATES DISTRICT COURT
11
                     NORTHERN DISTRICT OF CALIFORNIA
12

13
       SURGICAL INSTRUMENT                    Case No. 3:21-cv-03496-VC
14     SERVICE COMPANY, INC.
15                                            Honorable Vince Chhabria
               Plaintiff/Counter-Defendant,
16                                            NOTICE OF WITHDRAWAL AND
          v.                                  SUBSTITUTION OF COUNSEL
17
                                              FOR PLAINTIFF/COUNTER-
18      INTUITIVE SURGICAL, INC.,             DEFENDANT SURGICAL
                                              INSTRUMENT SERVICE
19
               Defendant/Counterclaimant.     COMPANY, INC. AND
20                                            [PROPOSED] ORDER
21

22                                            Complaint Filed: May 10, 2021
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                                                                        WITHDRAWAL AND
                                                                SUBSTITUTION OF COUNSEL
                                                                   Case No. 3:21-cv-03496-VC
       Case 3:21-cv-03496-AMO Document 131 Filed 03/29/23 Page 2 of 4


 1         PLEASE TAKE NOTICE that Plaintiff/Counter-Defendant Surgical
 2   Instrument Service Company, Inc. (“SIS”) has retained McCaulley Law Group LLC
 3   to substitute as counsel for Haley Guiliano LLP in the above-captioned matter.
 4         Withdrawing counsel for SIS are as follows:
 5                            GREGORY J. LUNDELL
                              Haley Guiliano LLP
 6                            E-Mail: greg.lundell@hglaw.com
 7                            111 N Market Street, Suite 900
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                              REBECCA ROTHKOPF (pro hac vice)
14
                              Haley Guiliano LLP
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                              75 Broad Street, Ste 1000
16                            New York, New York 10004
17                            (646) 973-2505

18
           Counsel changing law firm affiliations and substituting as counsel for SIS, to

19
     whom all pleadings, orders and notices should be served, are as follows:
                              JOSHUA V. VAN HOVEN (CSB No. 262815)
20
                              McCaulley Law Group LLC
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                                                                        WITHDRAWAL AND
                                                                SUBSTITUTION OF COUNSEL
                                                                   Case No. 3:21-cv-03496-VC
      Case 3:21-cv-03496-AMO Document 131 Filed 03/29/23 Page 3 of 4


 1       The following attorneys accept this substitution of counsel:
 2

 3   Dated: March 2, 2023                  HALEY GUILIANO LLP
 4

 5
                                    By: /s/ Gregory J. Lundell
 6
                                       GREGORY J. LUNDELL
 7

 8

 9   Dated: March 2, 2023                  MCCAULLEY LAW GROUP LLC
10

11
                                    By: /s/ Joshua Van Hoven
12                                     JOSHUA VAN HOVEN (CSB No. 262815)
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                                                                      WITHDRAWAL AND
                                                              SUBSTITUTION OF COUNSEL
                                                                 Case No. 3:21-cv-03496-VC
Case 3:21-cv-03496-AMO Document 131 Filed 03/29/23 Page 4 of 4
